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 2
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     Attorney for Defendant
 5
     ALICIA McCOY
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                        Case No.: 2:19-cr-043 DJC
12
                     Plaintiff,
13
     vs.                                              STIPULATION AND ORDER
14                                                    CONTINUING STATUS CONFERENCE
     ALICIA McCOY,                                    AND EXCLUDING TIME UNDER THE
15                                                    SPEEDY TRIAL ACT
16                   Defendant.
                                                      Date: December 12, 2024
17                                                    Time: 9:00 a.m.
                                                      Court: Hon. Daniel J. Calabretta
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            Plaintiff United States of America by and through Assistant United States Attorney Sam
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     Stefanki, and Attorney Todd D. Leras on behalf of Defendant Alicia McCoy, stipulate to the
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26   following matters, which they believe constitute good cause to continue this matter for change of

27   plea hearing:
     ORDER CONTINUING STATUS
28   CONFERENCE
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 1        1. Defendant McCoy requests to continue this matter for a change of plea hearing on
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             January 30, 2025. The defense also moves to exclude time under the Speedy Trial
 3
             Act between December 12, 2024, and January 30, 2025.
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          2. This case involves distribution of controlled substances through a portion of the
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 6           internet known as the dark web. The government previously produced as discovery

 7           approximately 3,000 pages of materials, including reports, videotapes, photographs,
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             and other materials produced during investigation of this matter. Ms. McCoy is
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             released on pre-trial conditions near her home in suburban Chicago. The location of
10
             her home and her medical conditions necessitated counsel’s travel to facilitate review
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12           of the discovery with her.

13        3. The parties appeared in person before the Court for a status conference on August 15,
14
             2024. On that date, defense counsel explained the status of the case. The parties
15
             negotiated a revised settlement agreement which the government approved and
16
             emailed to defense counsel one week before the August 15th status conference.
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18        4. The Court noted the age of the case at the August 15th hearing and agreed to set the

19           matter for a change of plea hearing on September 26, 2024, without setting a trial
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             date, cautioning that any additional continuance of the matter might make the setting
21
             of a trial date necessary.
22
          5. Defense counsel thereafter continued preparing Ms. McCoy for a potential change of
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24           plea via telephone conferences with her. However, on September 10, 2024, Ms.

25           McCoy underwent emergency surgery for a serious medical condition. Her medical
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             records related to the procedure were filed separately under seal to protect the
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 1           confidentiality of her records (ECF Entries 262 and 264). The Court thereafter
 2
             approved a stipulation to continue the status conference/change of plea hearing to
 3
             November 14, 2024 (ECF Entry 263).
 4
          6. During the week of November 4, 2024, defense counsel informed the assigned
 5

 6           prosecutor that Defendant McCoy is still taking pain medication in the aftermath of

 7           her emergency surgery. Defense counsel further informed the prosecutor that the
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             medication would likely impede Defendant McCoy’s ability to get through a change
 9
             of plea colloquy. In addition, Ms. McCoy remained under an airplane travel
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             restriction which required her to be accompanied by a third party during the necessary
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12           flight from Chicago to Sacramento.

13        7. Given Ms. McCoy’s continuing use of pain medication and her travel restriction,
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             defense counsel requested to continue the change of plea hearing to December 12,
15
             2024. (ECF Document 269). The Court thereafter approved the request. (ECF
16
             Document 270).
17

18        8. On December 5, 2024, defense counsel learned that Ms. McCoy’s medical condition

19           had worsened. Defense counsel promptly informed government counsel of this
20
             development. Defense counsel then requested to file under seal a document
21
             describing Ms. McCoy’s current medical condition and its impact on her ability to
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             travel to Sacrament from Chicago for the change of plea hearing on December 12,
23

24           2024. (ECF Document 271).

25        9. Based on Ms. McCoy’s present medical circumstances, Defendant requests to
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             continue the change of plea hearing to January 30, 2025. The government does not
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 1           oppose the request. Furthermore, the government is not at the present time requesting
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             the setting of a jury trial date due to the unusual circumstances resulting from Ms.
 3
             McCoy’s medical condition.
 4
          10. Defense counsel and a defense investigator met with Ms. McCoy at her home in
 5

 6           Illinois over the period from June 9 through 13, 2024. During the trip to Illinois, the

 7           defense investigator obtained records related to Ms. McCoy’s medical history and
 8
             condition. These matters continue to be the subject of continuing investigation into
 9
             potential sentencing mitigation. Given recent developments in Ms. McCoy’s medical
10
             history, this defense investigation is continuing and supports an exclusion of time
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12           between December 12, 2024, and January 30, 2025, inclusive, under Local Code T-4.

13        11. Attorney Todd Leras represents and believes that failure to grant additional time as
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             requested would deny Defendant McCoy the reasonable time necessary for effective
15
             preparation, considering the exercise of due diligence.
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          12. Based on the above-stated facts, Defendant McCoy requests that the Court find that
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18           the ends of justice served by setting the status conference/change of plea hearing on

19           the requested date outweigh the best interest of the public and the Defendant in a trial
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             within the time prescribed by the Speedy Trial Act.
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          13. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
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             seq., within which trial must commence, the time period of December 12, 2024, to
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24           January 30, 2025, inclusive, is deemed excludable pursuant to 18 U.S.C. §

25           3161(h)(7)(A), and (B) (iv) [Local Code T-4] because it results from a continuance
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             granted by the Court at Defendant McCoy’s request on the basis that the ends of
27
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 1              justice served by taking such action outweigh the best interest of the public and the
 2
                Defendant in a speedy trial.
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            14. Nothing in this stipulation and order shall preclude a finding that other provisions of
 4
                the Speedy Trial Act dictate that additional time periods are excludable from the
 5

 6              period within which a trial must commence.

 7          Assistant U.S. Attorney Sam Stefanki has authorized Todd D. Leras via email to sign this
 8
     stipulation on his behalf.
 9
     DATED: December 9, 2024                      PHILLIP A. TALBERT
10                                                      United States Attorney
11
                                                          By      /s/ Todd D. Leras for
12                                                                SAM STEFANKI
                                                                  Assistant United States Attorney
13

14
     DATED: December 9, 2024
15                                                        By      /s/ Todd D. Leras
                                                                  TODD D. LERAS
16                                                                Attorney for Defendant
                                                                  ALICIA McCOY
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 1                                                 ORDER
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            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES
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     AND GOOD CAUSE APPEARING TO EXIST, it is hereby ordered that the change of plea
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     hearing presently set for December 12, 2024, at 9:00 a.m., is vacated. A new change of plea
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 6   hearing is scheduled for January 30, 2025, at 9:00 a.m. The Court further finds, based on the

 7   representations of the parties, the documents requested to be filed under seal on December 6,
 8
     2024, and Defendant McCoy’s request for a continuance, that the ends of justice served by
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     granting the continuance outweigh the best interests of the public and the Defendant in a speedy
10
     trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(iv) and
11

12   Local Code T-4, to allow necessary attorney preparation taking into consideration the exercise of

13   due diligence for the period from December 12, 2024, up to and including January 30, 2025.
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     The parties are aware that any further continuance of the change of plea hearing without the
15
     setting of a trial date will be denied in the absence of good cause.
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            IT IS SO ORDERED.
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19   Dated: December 9, 2024                        /s/ Daniel J. Calabretta
20                                                  THE HONORABLE DANIEL J. CALABRETTA
                                                    UNITED STATES DISTRICT JUDGE
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28   CONFERENCE
